Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 1 of 20




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

 Civil Action No.: 1:15-cv-02362-RBJ

 DANA ALIX ZZYYM,

           Plaintiff,

 vs.

 REX W. TILLERSON, in his official capacity as Secretary of State; and
 SHERMAN D. PORTELL, in his official capacity as the Director of the Colorado
 Passport Agency for the United States Department of State,

           Defendants.


              PLAINTIFF DANA ZZYYM’S OPENING BRIEF FOLLOWING
          THE DEPARTMENT’S RECONSIDERATION OF ITS GENDER POLICY
                                      ORAL ARGUMENT REQUESTED

                                              TABLE OF CONTENTS
INTRODUCTION ............................................................................................................. 1

STATEMENT OF FACTS AND PROCEDURAL HISTORY............................................. 1

STANDARD OF REVIEW ............................................................................................... 4

ARGUMENT .................................................................................................................... 4

I.       THE BINARY-ONLY GENDER POLICY IS SUBJECT TO
         HEIGHTENED SCRUTINY BECAUSE IT DISCRIMINATES BASED
         ON GENDER ........................................................................................................ 4

II.      THE DEPARTMENT’S ACTIONS INFRINGE UPON THE
         FUNDAMENTAL RIGHT TO INDIVIDUAL DIGNITY AND
         AUTONOMY ......................................................................................................... 7

III.     THE DEPARTMENT’S ACTIONS INFRINGE UPON THE
         FUNDAMENTAL RIGHT TO TRAVEL.................................................................. 8

IV.      THE GENDER POLICY FAILS ANY LEVEL OF SCRUTINY ............................. 10

CONCLUSION .............................................................................................................. 16



                                                               i
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 2 of 20




                                           TABLE OF AUTHORITIES

Federal Cases

Abbott v. Abbott,
  560 U.S. 1 (2010) ....................................................................................................... 8
Aptheker v. Secretary of State,
  378 U.S. 500 (1964) ....................................................................................... 5, 10, 11
Browder v. United States,
   312 U.S. 335 (1941) ................................................................................................. 11
Califano v. Goldfarb,
  430 U.S. 199 (1977) ................................................................................................. 17
City of Cleburne v. Cleburne Living Ctr., Inc.,
   473 U.S. 432 (1985) ................................................................................................. 12
Custer Cnty. Action Ass’n v. Garvey,
  256 F.3d 1024 (10th Cir. 2001)................................................................................... 4
DeNieva v. Reyes,
  966 F.2d 480 (9th Cir. 1992)..................................................................................... 10
Diaz v. Brewer,
   656 F.3d 1008 (9th Cir. 2011)............................................................................. 17, 18
Fabian v. Hosp. of Cent. Conn.,
  172 F. Supp.3d 509 (D. Conn. 2016) .......................................................................... 7
Free the Nipple-Fort Collins v. City of Fort Collins, Colorado,
   237 F. Supp. 3d 1126 (D. Colo. 2017) ........................................................................ 7
Frontiero v. Richardson,
   411 U.S. 677 (1973) ........................................................................................... 17, 18
Glenn v. Brumby,
   663 F.3d 1312 (11th Cir.)............................................................................................ 7
Haig v. Agee,
  453 U.S. 280 (1981) ................................................................................................. 10
Heller v. Doe by Doe,
  509 U.S. 312 (1993) ........................................................................................... 11, 16
J.E.B. v. Alabama ex rel. T.B.,
   511 U.S. 127 (1994) ............................................................................................... 5, 7
Kent v. Dulles,
  357 U.S. 116 (1958) ................................................................................................. 10
Kitchen v. Herbert,
   961 F. Supp. 2d 1181(D. Utah 2013), aff’d, 755 F. 3d 1193 (10th Cir. 2014). ............ 5




                                                             ii
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 3 of 20




Lawrence v. Texas,
  539 U.S. 558 (2003) ............................................................................................... 8, 9
Lynd v. Rusk,
  389 F.2d 940 (D.C. Cir. 1967) .................................................................................. 11
Lyng v. Int'l Union, United Auto., Aerospace & Agr. Implement Workers of Am.,
  485 U.S. 360 (1988) ................................................................................................. 17
Obergefell v. Hodges,
  135 S. Ct. 2584 (2015) ........................................................................................... 6, 8
Olenhouse v. Commodity Credit Corp.,
   42 F.3d 1560 (10th Cir. 1994)..................................................................................... 3
Omar v. Kerry,
  No. 15-CV-01760-JSC, 2016 WL 617449 (N.D. Cal. Feb. 16, 2016) ........................ 10
Planned Parenthood of Se. Pa. v. Casey,
   505 U.S. 833 (1992) ................................................................................................... 8
Plyler v. Doe,
   457 U.S. 202 (1982) ........................................................................................... 17, 18
Roberts v. U.S. Jaycees,
  468 U.S. 609 (1984) ................................................................................................... 8
Schroer v. Billington,
  424 F. Supp. 2d 203 (D.D.C. 2006) ............................................................................ 7
Sessions v. Morales-Santana,
  137 S. Ct. 1678 (2017) ........................................................................................... 6, 7
United States v. Virginia,
  518 U.S. 515 (1996) ................................................................................................... 6
United States v. Windsor,
  133 S. Ct. 2675 (2013) ............................................................................................... 5
Zablocki v. Redhail,
  434 U.S. 374 (1978) ................................................................................................... 9
Zemel v. Rusk,
  381 U.S. 1 (1965) ..................................................................................................... 10
Zzyym v. Kerry,
  220 F.Supp. 1106 (D. Colo. 2016) ................................................................ 1, 2, 3, 14




                                                             iii
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 4 of 20




                                    INTRODUCTION

    Plaintiff Dana Alix Zzyym (“Dana”), a U.S. citizen and Navy veteran who was born

intersex, returns to this Court seeking relief after Defendants, Rex W. Tillerson as

Secretary of State and Sherman D. Portell as Director of the Colorado Passport Agency

(jointly, the “Department”),1 doubled-down on its discriminatory, binary-only gender

marker passport policy (“Gender Policy”) and denied Dana a passport because Dana is

neither male nor female. Nearly three years after the agency’s first adjudication of

Dana’s passport application and this Court’s mandate that the agency reconsider its

policy, the Department continues to lock Dana within the confines of our nation’s

borders with no legal means to depart the United States. The Constitution prohibits the

Department from discriminating against Dana based on sex and from infringing upon

Dana’s fundamental rights and liberty interests, namely the right to individual dignity and

autonomy and the freedom to travel, all without adequate justification. For the reasons

below and those asserted in prior briefing, this Court should hold unlawful and set aside

the Department’s decision to deny Dana a crucial identity and travel document, as

constitutionally infirm.

               STATEMENT OF FACTS AND PROCEDURAL HISTORY 2

    Intersex people have existed throughout history. Yet around the globe, intersex



1 Defendants are sued in their official capacities. Secretary Tillerson, who assumed
office as Secretary of State on February 1, 2017, “is automatically substituted as a
party” pursuant to Federal Rule of Civil Procedure 25(d).
2 Although the Court is familiar with this case from its Order in Zzyym v. Kerry, 220

F.Supp. 1106 (D. Colo. 2016) (“Zzyym I”) [AR 0055-0066], Dana sets forth a shortened
version of the facts and incorporates by reference all facts and relevant background
from prior briefing. See Plaintiff Zzyym’s Opening Brief [Dkt. 37], pp. 1-6.

                                            1
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 5 of 20




individuals “face violence, discrimination, stigma, harassment and persecution on

account of their sex characteristics, which do not fit binary notions of typical male or

female bodies.” In Recognition of Intersex Awareness Day, Statement by John Kirby,

Assistant Secretary, U.S. Department of State (Oct. 26, 2016).3 Early in life, Dana, like

many other intersex infants, “face[d] forced medical surgeries that [were] conducted at a

young age without free and informed consent” and that “jeopardize[d] their physical

integrity and ability to live free.” Id. None of the surgeries altered, or even fully

disguised, Dana’s intersex traits. Administrative R. [Dkt. 64-01 through 64-44]

[hereinafter “AR”], 0028, 0030. Eventually Dana, whose gender identity 4 is neither male

nor female (“nonbinary”), became an advocate for intersex people through raising

awareness and sharing their own personal story. AR 0022.

    In anticipation of attending an intersex world conference in Mexico City, Dana

submitted a passport application on September 2, 2014. AR 0007-0022. Dana did not

select either “M” (male) or “F” (female) in the sex field on the application form, but

instead wrote “Intersex” and explained, “I’m not male or female.” AR 0007, 0009. In

addition to other required items,5 Dana submitted a certified birth certificate stating

“[u]nknown” in the sex field, AR 0010, and two sworn statements from licensed

physicians with the U.S. Department of Veterans Affairs (“VA”) that verified Dana’s sex

as intersex. AR 0028, 0030. Dana requested a passport bearing “X” in the sex field



3 Available at https://2009-2017.state.gov/r/pa/prs/ps/2016/10/263578.htm.
4 Gender identity is the innate sense of being female, male both or neither. AR 0605;

see also note 19, infra.
5 “It is undisputed that in every other respect Dana is qualified to receive a passport.”

Zzyym I, 220 F.Supp. at 1108.

                                               2
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 6 of 20




because that gender marker is authorized by the International Civil Aviation

Organization (ICAO), a United Nations agency that sets forth passport specifications. 6

AR 0016, 0026-0027, 0539. The Department denied Dana’s passport application on

December 24, 2014, and denied reconsideration on April 10, 2015, claiming the

Department “requires the sex field on United States Passport to be listed as ‘M’ or ‘F.’”

AR 0033, 0052.

    On October 25, 2015, Dana commenced this action 7 against the Department

asserting a violation of the Administrative Procedure Act (“APA”), 5 U.S.C. § 706(2),

including, as relevant here, that the Department acted contrary to the equal protection

and due process guarantees under the Fifth Amendment to the U.S. Constitution. [Dkt.

1]. On November 26, 2016, this Court issued an Order holding that Defendants’ denial

of Dana’s passport application was arbitrary and capricious under the APA and that the

administrative record did not demonstrate that the Defendants’ “decisionmaking process

that resulted in the [binary-only gender] policy in question was rational.” Zzyym I, 220

F.Supp. at 1114. Accordingly, the Court remanded the matter to the Department for

reconsideration and declined to reach the constitutional claims, indicating it would not

do so “unless and until it needs to.” Id.

    On March 6, 2017, after the Intersex Campaign for Equality 8 asked Dana to



6 Several countries already issue passports with gender markers other than “F” or “M,”
including Australia, Canada, Denmark, Germany, India, Malta, Nepal, New Zealand and
Pakistan. See AR 0373.
7 Review of agency action in the district courts are processed as appeals. Olenhouse v.

Commodity Credit Corp., 42 F.3d 1560, 1580 (10th Cir. 1994).
8 Dana is the current Associate Director of the Intersex Campaign for Equality (aka

Organisation Intersex International United States of America, or OII-USA).

                                             3
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 7 of 20




represent the organization at an intersex conference in Amsterdam, Dana requested the

Department issue a full-validity or temporary passport bearing an X or other third-

gender marking on the sex field. AR 0067-0069. The Department refused to issue Dana

a temporary passport, but the agency said it would soon complete its judicially

mandated review of the binary-only Gender Policy. AR. 0075-0076. On May 1, 2017,

the Department denied Dana’s passport application for a second time, AR 0079-0080,

and set forth five justifications9 it claimed supported the agency’s decision to “maintain

its existing” Gender Policy.10 On July 6, 2017, Dana filed a Supplemental Complaint

[Dkt. 61] to include the Department’s unlawful actions related to its May 2017 denial of

Dana’s passport application in the action. Thus, Dana’s constitutional claims are ripe for

review.

                                STANDARD OF REVIEW

    Constitutional claims are questions of law entitled to de novo review. Custer Cnty.

Action Ass’n v. Garvey, 256 F.3d 1024, 1030 (10th Cir. 2001).

                                       ARGUMENT

    I.    THE BINARY-ONLY GENDER POLICY IS SUBJECT TO HEIGHTENED
          SCRUTINY BECAUSE IT DISCRIMINATES BASED ON GENDER
    The policy is incompatible with the Fifth Amendment’s mandate that government

accord all persons “the equal protection of the laws.” Denying a passport to applicants



9 Sex Designation Policy for U.S. Passports, Memorandum from Barry J. Conway to
Regional Directors et al. (May 1, 2017) (“Justifications Memo”) [AR 0082-0086].
10 The “Gender Change” section of the Foreign Affairs Manual (“FAM”) at 7 FAM § 1300

Appendix M, et. seq., “provides policy and procedures passport specialists must follow”
regarding a gender marker on a U.S. passport where the Department extrapolates its
binary-only Gender Policy. See generally AR0178-0187.

                                             4
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 8 of 20




who, like Dana,11 cannot truthfully attest to being either male or female is subject to

heightened scrutiny that attends “all gender-based classifications.” J.E.B. v. Alabama ex

rel. T.B., 511 U.S. 127, 136 (1994). The intentional exclusion of passport applicants who

are neither male nor female from accurate identification and a core travel document

based on their sex relegates them to a stigmatized, second-class status and offends the

equal protection guarantee, which “withdraws from the Government the power to

degrade or demean” in the way this binary-only Gender Policy does. See United States

v. Windsor, 133 S. Ct. 2675, 2695 (2013).

     Given the gender-biased disparity of the policy, the Department must meet “the

more rigorous standard of demonstrating an ‘exceedingly persuasive’ justification[.]”

Kitchen v. Herbert, 961 F. Supp. 2d 1181, 1206-07 (D. Utah 2013), aff’d, 755 F. 3d 1193

(10th Cir. 2014). The Department must demonstrate that its policy “serves important

governmental objectives and that the discriminatory means employed are substantially

related to the achievement of those objectives.” United States v. Virginia, 518 U.S. 515,

533 (1996). “Moreover, the classification must substantially serve an important

governmental interest today, for ‘in interpreting the [e]qual [p]rotection guarantee, [the

Supreme Court has] recognized that new insights and societal understandings can

reveal unjustified inequality . . . that once passed unnoticed and unchallenged.’”

Sessions v. Morales-Santana, 137 S. Ct. 1678, 1684 (2017) (citing Obergefell v.

Hodges, 135 S. Ct. 2584 (2015)) (emphasis in original).


11 Dana, an intersex U.S. citizen, is similarly situated to other passport applicants who
seek to travel abroad for job and business opportunities; for cultural, political and social
activities; or for all the reasons any other person may have. See Aptheker v. Secretary
of State, 378 U.S. 500, 519-20 (1964) (Douglas, J., concurring).

                                              5
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 9 of 20




   The Gender Policy requires the application of heightened scrutiny for at least three

reasons. First, the policy facially classifies applicants based on gender. See AR 0080

(“[T]he Department recognizes and issues passports in two sexes, male and female.”);

AR 0082 (“The Department only issues passports with the sex designations ‘M’ (male)

and ‘F’ (female).”) The express text of the policy precludes Dana and others who are

neither male nor female from ever obtaining the most widely recognized identity and

travel document because “[e]very applicant for a passport must indicate their sex as

either male or female[.]” Id. For this reason alone, the policy warrants heightened

scrutiny.

   Second, the policy requires applicants to conform to gender-based stereotypes and

expectations. The Department’s male-or-female only passport regime traces back to an

era when our laws were laden with “overbroad generalizations” about gender, including

the erroneous dichotomous sex classification. See generally AR 0087-0090. “[P]olicies

that professedly are based on reasonable considerations in fact may be reflective of

‘archaic and overbroad’ generalizations about gender . . . .” J.E.B., 511 U.S. at 135. The

false narrative that gender is binary has “a constraining impact, descriptive though [it]

may be of the way many people still order their lives.” Morales-Santana, 137 S. Ct. at

1693; see also Schroer v. Billington, 424 F. Supp. 2d 203, 211, 213 n.5 (D.D.C. 2006)

(noting gender “is not a cut-and-dried matter of chromosomes,” and “intersex individuals

are real and cannot be ignored.”). All persons, whether intersex or not, are protected

from discrimination based upon gender-based assumptions, expectations, stereotypes

or norms. See, e.g., Free the Nipple-Fort Collins v. City of Fort Collins, Colorado, 237 F.

Supp. 3d 1126, 1130 (D. Colo. 2017).


                                             6
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 10 of 20




    Third, discrimination based on one’s intersex status constitutes a per se gender

 classification entitled to heightened scrutiny. An exclusion on the basis of being

 “intersex, or sexually indeterminate, constitutes discrimination on the basis of the

 properties or characteristics typically manifested in sum as male and female—and that

 discrimination is literally discrimination ‘because of sex.’” Fabian v. Hosp. of Cent.

 Conn., 172 F. Supp.3d 509, 527 (D. Conn. 2016). Cf. Glenn v. Brumby, 663 F.3d 1312

 (11th Cir.) (holding discrimination based on transgender status constitutes per se sex

 discrimination).

    II.     THE DEPARTMENT’S ACTIONS INFRINGE UPON THE FUNDAMENTAL
            RIGHT TO INDIVIDUAL DIGNITY AND AUTONOMY
    The Fifth Amendment’s Due Process Clause protects each person’s fundamental

 liberty interest in individual dignity and autonomy from unwarranted government

 intrusion. Courts protect deeply intimate and personal matters, such as marriage,

 procreation, family life, bodily integrity, and self-definition. See, e.g., Planned

 Parenthood of Se. Pa. v. Casey, 505 U.S. 833, 851 (1992); Roberts v. U.S. Jaycees,

 468 U.S. 609, 619 (1984); cf. Abbott v. Abbott, 560 U.S. 1, 11 (2010). Living openly and

 authentically is core to each person’s identity; central to a person’s dignity, autonomy,

 and self-expression; and “shape[s] an individual’s destiny.” Obergefell, 135 S. Ct. at

 2593, 2597. Each person must be able to make such decisions for themselves, as they

 are essential to “retain[ing] their dignity as free persons.” Lawrence v. Texas, 539 U.S.

 558, 567 (2003).

    “The Constitution promises liberty to all within its reach, a liberty that includes certain

 specific rights that allow persons . . . to define and express their identity.” Obergefell,

 135 S. Ct. at 2593. The Department itself recognizes that a person’s “gender is an

                                                7
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 11 of 20




 integral part of that person’s identity.” 7 FAM § 1310(c) App. M, AR 0178. Each person’s

 ability to live and express oneself in accord with one’s gender constitutes a core aspect

 of individual self-definition, dignity and autonomy. Lawrence, 539 U.S. at 562 (“Liberty

 presumes an autonomy of self that includes freedom of thought, belief, expression, and

 certain intimate conduct.”). It is hard to imagine a greater intrusion than government

 requiring a person to live, work, travel, express oneself, and define oneself with an

 incorrect gender. It would impinge impermissibly on autonomy and self-definition for

 government to require a woman to use an identity document incorrectly identifying her

 as male, or to mandate that a man similarly represent himself as a woman. No less is

 true for Dana and other Americans who are neither male nor female, who seek simply to

 answer honestly and with dignity the question, “Who are you?”

    Dana and others who fall outside the binary seek to live authentically and openly in

 accord with their gender, but the Department has punished them for exercising this

 fundamental right, thus diminishing their personhood in a manner the due process

 guarantee condemns. Id at 575. The Gender Policy deprives Dana of a fundamental

 liberty interest to individual dignity and autonomy, absent any rational justification at all,

 let alone the compelling justification and narrow tailoring required, see Zablocki v.

 Redhail, 434 U.S. 374, 388 (1978), and Point IV., infra, and therefore violates the Due

 Process Clause.

    III.   THE DEPARTMENT’S ACTIONS INFRINGE UPON THE FUNDAMENTAL
           RIGHT TO TRAVEL
    The right to international travel is “part of the ‘liberty’ of which the citizen cannot be

 deprived without due process of law under the Fifth Amendment.” Kent v. Dulles, 357

 U.S. 116, 125 (1958); see also DeNieva v. Reyes, 966 F.2d 480, 485 (9th Cir. 1992)

                                                8
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 12 of 20




 (“[T]he Supreme Court has explicitly recognized the right to international travel since

 1958.”). Restrictions on international travel cannot be left to the whim of an agency, but

 rather must be justified by the “weightiest considerations of national security.” Zemel v.

 Rusk, 381 U.S. 1, 16 (1965); accord Haig v. Agee, 453 U.S. 280, 307 (1981).

 Furthermore, “a governmental purpose to control or prevent activities constitutionally

 subject to state regulation may not be achieved by means which sweep unnecessarily

 broadly and thereby invade the area of protected freedoms.” Aptheker, 378 U.S. at 508

 (striking down a law denying passports to members of a Communist organization).

 Government action interfering with international travel must be “narrowly drawn to

 prevent the supposed evil” and “precision must be the touchstone of legislation affecting

 basic freedoms.” Id. at 514.

    The right to international travel is “a firmly entrenched right of an American citizen.”

 Omar v. Kerry, No. 15-CV-01760-JSC, 2016 WL 617449, at *8 (N.D. Cal. Feb. 16,

 2016). Where, as here, a passport applicant is not involved in unlawful conduct and no

 national security interest has been asserted, strict scrutiny applies to determine whether

 government may infringe on an individual freedom so “deeply engrained” in our history.

 Aptheker, 378 U.S. at 521 (Douglas, J., concurring).

    The policy directly intrudes upon Dana’s fundamental right to international travel.

 Licensed VA physicians under the penalty of perjury confirm that Dana is neither male

 nor female. AR 0028, AR 0030. The Gender Policy gives Dana two choices: (1)

 misrepresent their sex on the passport application, exposing Dana to criminal penalty,

 see, e.g., Browder v. United States, 312 U.S. 335, 337-40 (1941) (upholding conviction

 for benign use of a passport secured by a false statement); or (2) refuse to misrepresent


                                              9
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 13 of 20




 their sex and be denied a passport, see AR 0080. Therefore, the Gender Policy

 prevents Dana from truthfully completing the passport application and thereby prevents

 Dana’s international travel. See Lynd v. Rusk, 389 F.2d 940, 942 (D.C. Cir. 1967)

 (“[D]enial of a passport has the undoubted practical consequence of effectively limiting

 travel”).

     IV.     THE GENDER POLICY FAILS ANY LEVEL OF SCRUTINY
     Although discrimination against people who fall outside the binary is subject to some

 form of heightened scrutiny, the Gender Policy cannot withstand any level of review.

 Even under rational basis review, justifications must have a “footing in the realities of

 the subject addressed,” Heller v. Doe by Doe, 509 U.S. 312, 321 (1993), and the

 government “may not rely on a classification whose relationship to an asserted goal is

 so attenuated as to render the distinction arbitrary or irrational,” City of Cleburne v.

 Cleburne Living Ctr., Inc., 473 U.S. 432, 446 (1985). The Department’s justifications

 defy any rational explanation.

             a. The Policy Is Not Rationally Related To Accuracy Or Reliability
     There is no rational link between requiring a passport applicant to submit a

 materially false statement about the applicant’s gender and the Department’s interest in

 ensuring passport information “is accurate and verifiable”; in fact, such a requirement

 sounds in irrationality. AR 0083. Identity documents are, by their very nature, intended

 to accurately reflect a person’s identity. The Department “relies primarily on third party

 documentation issued by state, municipal, and/or foreign country authorities” such as

 birth certificates and driver’s licenses, to ensure the integrity of a passport applicant’s

 gender. AR 0083, 0189; see also 22 C.F.R. § 51.23(b). Yet the policy also notes that



                                              10
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 14 of 20




 state laws “vary” and may not accurately reflect a person’s gender on primary

 identification permitted for establishing “evidence of identity.” 7 FAM § 1321(b) App. M,

 AP 0179.12 The Department also seeks to exclude intersex and nonbinary people by

 contending that no U.S. jurisdiction has a policy for issuing IDs “bearing a sex other

 than male or female”. AR 0083. This outdated assertion is no longer true. To date, both

 Oregon13 and the District of Columbia14 permit residents to obtain driver’s licenses with

 an X gender marker, and other states may soon follow suit. See, e.g., AR 0189 n. 1.

 Despite the change, the Department has not said how it will establish gender as it

 adjudicates passport applications with such markers on state-issued identification.

      The Department further claims it does not rely on amended birth certificates or court

 orders as evidence of change of sex, due to varying state standards. AR 0083. Yet, the

 agency uses such documents to establish evidence of identity. See, e.g., 7 FAM §

 1370(b) App. M, AR 0185-86 (allowing “certified copy of the amended birth document”);

 7 FAM § 1321(e) App. M, AR 0180 (permitting name change15 “by court order”). Here,

 Dana does not suggest that the Department should dispense with procedures to verify


 12 A mismatch of a gender marker listed on a driver’s license is no bar to transgender
 people from obtaining an accurate and verifiable passport. Point IV(b), infra. In such
 cases, a transgender person with a binary gender identity of either male or female need
 only supplement their application with “medical certification from a licensed physician.”
 AR 0180-81.
 13 Oregon policy effective July 1, 2017. See O.A.R. 735-062-0013.

 14 D.C. policy effective June 27, 2017. See Mayor Boser Announces Addition of Gender

 Neutral Identifier to Drivers Licenses and Identification Cards, Executive Office of the
 Mayor, at https://mayor.dc.gov/release/mayor-bowser-announces-addition-gender-
 neutral-identifier-drivers-licenses-and.
 15 Notably, names can change more than once in a person’s lifetime. Moreover, a

 person’s name also can be changed on a passport “by customary usage”. AR 0180
 (citing 7 FAM § 1300 App. C).

                                              11
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 15 of 20




 identity and citizenship, but asserts that the agency must do so in an even-handed

 manner. Issuing Dana an accurate passport would further the very goals the

 Department seeks to achieve.

           b. The Department’s Utility-In-Matching Justifications Are Irrational
    The second and third justifications of “utility” are both irrational. The justifications are

 based on using computer systems to data-match for law enforcement purposes – one

 for the Department itself and one on behalf of other government agencies. AR 0084.

 The agency uses its “name check clearance system” to ensure proper denial of

 passports. Id. Not only is gender one of many “data points used” in verifying identity

 (e.g., name, date of birth, place of birth), but the Department again fails to explain how it

 would match gender to databases where the “particular datum is unknown or

 unrecorded” or how it would otherwise “sync a transgender individual’s passport

 information” when records list that person’s gender differently from the application.

 Zzyym I, 220 F.Supp.3d at 1113. Moreover, without any record evidence, the

 Department merely speculates that using a third gender marker “could introduce

 verification difficulties,” may “complicate” data sharing, and “likely cause” operational

 issues for third party government bodies. AR 0084. These justifications are threadbare

 conjectures and simply an administrative convenience rationale, which does not pass

 constitutional muster. See Point IV(d), infra.

           c. The Department’s So-Called “Lack of Medical Consensus”
              Justification For The Gender Policy Has No Footing In Reality
    Although the Department “lacks the medical expertise,” regularly relies upon a

 “signed certification of a licensed physician,” and concedes that medical treatment with

 respect to one’s gender identity is “individualized,” the agency erroneously claims lack

                                               12
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 16 of 20




 of “medical consensus as to how to define a third sex” as the basis for its exclusionary

 policy. AR 0085-0086. As a preliminary matter, the justification is based upon the

 agency’s faulty premise that an intersex person must “transition” between two genders.

 It has long been medically established that an intersex person is born with mixed or

 ambiguous markers of sex that do not fit typical binary notions of male or female bodies.

 AR 0605; 7 FAM § 1350(a) App. M, AR 0185; AR 0765. For an intersex person like

 Dana, transition is not appropriate based simply upon Dana’s being neither male nor

 female at birth.16

    Notably absent from the agency’s Justifications Memo is the Department’s abiding

 reliance upon and deference to the medical “standards and recommendations for the

 World Professional Association for Transgender Health (WPATH) [AR 0646-0763],

 recognized as the authority . . . by the American Medical Association (AMA).” 7 FAM §

 1310(b) App. M, AR 178. Moreover, WPATH Standards of Care do in fact allow for

 treatment of gender dysphoria for transgender17 and gender-nonconforming people who

 are neither male nor female, including intersex18 and nonbinary people.19 AR 0658


 16As  explained in prior briefing, doctors subjected Dana to irreversible, invasive, painful
 and medically unnecessary surgery as an infant without Dana’s consent. Plaintiff’s
 Opening Brief [Dkt. 37], at p. 3; see also AR 0028, 0030 (passport application materials
 by licensed VA physicians attesting that Dana is neither male nor female, but intersex).
 17 In a recent survey, 35% of transgender respondents indicated that their gender

 identity was nonbinary or genderqueer. Sandy James et al., The Report of the 2015
 U.S. Transgender Survey, National Center for Transgender Equality (Dec. 2016), at
 http://www.transequality.org/sites/default/files/docs/usts/USTS%20Full%20Report%20-
 %20FINAL%201.6.17.pdf
 18 AR 0718-0721(noting an intersex person may or may not experience gender

 dysphoria, but practitioners use WPATH Standards of Care based upon individualized,
 appropriate clinical treatment to alleviate gender dysphoria).
 19 AR 0598 (recognizing “that there is a spectrum of gender identities, and that choices

 of identity limited to Male or Female may be inadequate to reflect all gender identities:

                                              13
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 17 of 20




 (recognizing the “considerable diversity in . . . gender identities” and noting some people

 do not “consider themselves to be either male or female” and “may describe their

 gender identity . . . [as a] unique experience that may transcend a male/female binary

 understanding of gender.) To the extent the Department seeks further medical support,

 three former U.S. surgeon generals and the AMA Board of Trustees opine that cosmetic

 “normalizing” genital surgery “meant to ‘match’ the binary sex category [intersex

 children] are assigned by adults entrusted with their care” is inappropriate and

 harmful.20

    In addition, the Department’s claim that it “does not issue passports based on an

 individual’s gender identity,” but instead based upon appropriate treatment 21 for gender

 dysphoria, is disingenuous. Treatment for gender dysphoria is administered to bring the

 body “into alignment with [one’s] gender identity.” AR 0085. (emphasis added). Thus the

 Department devolves again to the core offense at issue: it issues passports with a

 gender marker matching a person’s gender identity—but only if the applicant has a

 binary gender identity. The purported justification of a so-called “lack of medical

 consensus” fails even the lowest level of review because it is arbitrary, irrational and


 an option of X or Other . . . may be advisable.”); AR 0085 (stating “the Department is
 aware that there are individuals whose gender identity is neither male nor female.”)
 20 Re-Thinking Genital Surgeries on Intersex Infants, Elders, Satcher and Carmona

 (October 26, 2016), at http://www.palmcenter.org/wp-content/uploads/2017/06/Re-
 Thinking-Genital-Surgeries-1.pdf (“[A] consensus is emerging that concludes that
 children born with atypical genitalia should not have genitoplasty performed on them
 absent a need to ensure physical functioning.”); Supporting Autonomy for Patients with
 Differences of Sex Development (DSD) (Resolution 3-A-16), AMA Report of the Board
 of Trustees Report 7-I-16, at https://assets.ama-assn.org/sub/meeting/documents/i16-
 bot-07.pdf.
 21“‘Appropriate’ treatment… is treatment that successfully accomplishes such alignment

 with respect to the particular individual.” AR 0085 (emphasis added).

                                             14
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 18 of 20




 has no “footing in the realities of the subject addressed.” Heller, 509 U.S. at 321.

           d. Mere Invocation Of Feasibility Cannot Save The Gender Policy
    The Department’s fifth basis for maintaining its binary-only Gender Policy is that

 “altering Department systems to permit the issuance of passports with a third sex option

 would be expensive and time-consuming.” AR 0086. In essence, the Department

 argues that maintaining the Gender Policy is administratively convenient, and the

 agency could avoid the costs required to implement a third sex designation on the U.S.

 passport by excluding people like Dana from obtaining a passport. However, the

 discriminatory policy cannot survive constitutional challenge.

    In Frontiero v. Richardson, the Supreme Court recognized that “although efficacious

 administration of governmental programs is not without some importance, the

 Constitution recognizes higher values than speed and efficiency.” 411 U.S. 677, 690–91

 (1973) (internal quotes omitted). Arguments based on “administrative convenience” and

 cost concerns routinely fail constitutional review, especially in cases like this, where

 heightened scrutiny applies. See, e.g., Plyler v. Doe, 457 U.S. 202, 227 (1982)

 (preservation of resources); Califano v. Goldfarb, 430 U.S. 199, 240 (1977)

 (administrative convenience). These arguments fail even under rational basis review.

 See, e.g., Lyng v. Int'l Union, United Auto., Aerospace & Agr. Implement Workers of

 Am., 485 U.S. 360, 377 (1988) (“[S]omething more than an invocation of the public fisc

 is necessary to demonstrate the rationality of selecting [one group], rather than some

 other group….”); Diaz v. Brewer, 656 F.3d 1008, 1014 (9th Cir. 2011) (where interest in

 “cost savings and reducing administrative burdens” “depend[s] on distinguishing

 between [two similarly situated groups,]” it “cannot survive rational basis review”).


                                              15
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 19 of 20




    Even if the Department could argue “administrative convenience” and “costs of

 compliance” were sufficient governmental interests to survive any level of scrutiny, it

 has not presented any factual evidence to establish such interests. The Department

 concedes that it “has not undertaken a level of effort (LOE) estimation on the time and

 cost to add a third sex designation option [on passports.]” Id. (emphasis added). Under

 any level of scrutiny, the Constitution does not sanction the Department’s attempt at

 maintaining its Gender Policy without record evidence. See Frontiero, 411 U.S. at 690

 (“‘[A]dministrative convenience’ is not a shibboleth, the mere recitation of which dictates

 constitutionality”); Plyler, 457 U.S. at 227–28 (“There is no evidence in the record

 suggesting . . . any significant burden on the State's economy.”). These platitudes,

 without any record evidence to determine the time, cost, or coordination necessary to

 place a third gender marker on a passport, do not outweigh Dana’s constitutional rights.

                                       CONCLUSION

    For the foregoing reasons, Dana respectfully request this Court to set aside and

 declare as unconstitutional the agency’s decision to deny Dana’s passport application.

 Respectfully submitted this 10th day of October 2017.
                                               /s/ Paul D. Castillo______
 Michael A. Ponto                              Paul D. Castillo
 Emily E. Chow                                 LAMBDA LEGAL DEFENSE AND
 FAEGRE BAKER DANIELS LLP                      EDUCATION FUND, INC.
 2200 Wells Fargo Center                       3500 Oak Lawn Avenue, Suite 500
 90 South Seventh Street                       Dallas, TX 75219-6722
 Minneapolis, MN 55402-3901                    Phone: (214) 219-8585
 Phone: (612) 766-7000                         Fax: (214) 219-4455
 Fax: (612) 766-1600                           pcastillo@lambdalegal.org
 michael.ponto@faegrebd.com
 emily.chow@faegrebd.com
                                               Attorneys for Plaintiff Dana Alix Zzyym



                                             16
Case 1:15-cv-02362-RBJ Document 65 Filed 10/10/17 USDC Colorado Page 20 of 20




 Brian Lynch                                 Hayley Gorenberg
 FAEGRE BAKER DANIELS LLP                    M. Dru Levasseur
 3200 Wells Fargo Center                     Demoya R. Gordon
 1700 Lincoln Street                         LAMBDA LEGAL DEFENSE AND
 Denver, CO 80203-4532                       EDUCATION FUND, INC.
 Phone: (303) 607-3500                       120 Wall Street, 19th Floor
 Fax: (303) 607-3600                         New York, NY 1005
 brian.lynch@faegrebd.com                    Phone: (212) 809-8585
                                             Fax: (212) 809-0055
                                             hgorenberg@lambdalegal.org
                                             dlevasseur@lambdalegal.org
                                             dgordon@lambdalegal.org

                                             Camilla B. Taylor
                                             LAMBDA LEGAL DEFENSE AND
                                             EDUCATION FUND, INC.
                                             105 West Adams Street, Suite 2600
                                             Chicago, IL 60603-6256
                                             Phone: (312) 663-4413
                                             Fax: (312) 663-4307
                                             ctaylor@lambdalegal.org

                                             Attorneys for Plaintiff Dana Alix Zzyym




                              CERTIFICATE OF SERVICE

 I certify that on this 10th day of October, 2017, I electronically filed PLAINTIFF DANA
 ZZYYM’S OPENING BRIEF FOLLOWING THE DEPARTMENT’S RECONSIDERATION
 OF ITS GENDER POLICY with the Court using the CM/ECF system, which automatically
 serves all attorneys of record pursuant to D.C.COLO.LCivR 5.1(d).

                                             /s/ Paul D. Castillo______
                                             Paul D. Castillo




                                           17
